                                                                                              Motion GRANTED.
                                                                                              Pretrial motions to
                                                                                              be filed by 4/10/13.
                                 UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF TENNESSEE
                                      NASHVILLE SECTION



UNITED STATES OF AMERICA                              ]
                                                      ]
VS.                                                   ]         CRIM. CASE NO. 1:12-CR-00001
                                                      ]         JUDGE TRAUGER
WAYNE HAMPTON                                         ]




          MOTION FOR EXTENSION OF TIME TO FILE PRE-TRIAL MOTIONS



         Comes now the Defendant, through undersigned counsel, and moves this Honorable

Court for an extension of time within which to file pre-trial motions. As grounds therefore, the

Defendant would show as follows:

         1.       Pre-trial motions are currently due on November 30, 2011. [Doc. No. 73]

         2.       The Defendant has a current trial date of January 15, 2013.1 [Doc. No. 93]

         3.       The Defendant has received the discovery within the last week in the superceding

                  indictment, but has not had adequate opportunity to review it or confer with the

                  Defendant regarding the case, the discovery or other matters.

         4.       At this point, in addition to determining what, if any pre-trial motions are

                  necessary, the Defendant needs additional time to investigate the case, review all

                  the discovery materials, consult further with the Defendant and engage the

                  government in settlement negotiations.

         1
          Counsel has a conflict with the current trial schedule and will be filing an appropriate motion as soon as
counsel has had opportunity to speak with Mr. Hampton on December 6, 2012.



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